                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                   NORTHERN DIVISION; CAUSE NO. 2:22-cv-00039

SYLVIA EVERETT, ADMINISTRATOR
FOR THE ESTATE OF MARION
NEWSOME                                                                               PLAINTIFF

v.

ACCORDIUS HEALTH AT CREEKSIDE
CARE, LLC                                                                            DEFENDANT

                         AGREED CONSENT ORDER REFERRING
                              CASE TO ARBITRATION

       It appearing to the Court, as evidenced by the signatures of counsel for the interested parties

below, that the parties have agreed to stay this lawsuit and submit this case to binding arbitration.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that this case be stayed and

submitted to binding arbitration.

       SO ORDERED AND ADJUDGED, this the ______
                                          16th day of ______________,
                                                       May            2024.




                                      Hon. Robert T. Numbers, II
                                      United States Magistrate Judge


APPROVED FOR ENTRY:


HAGWOOD AND TIPTON PC


BY:   /s/ Michael E. Phillips
       Michael E. Phillips (NCBN 45198)
       2015 Ayrsley Town Boulevard, Suite 202
       Charlotte, NC 28273
       Email: mphillips@hatlawfirm.com
              Attorneys for Defendants




         Case 2:22-cv-00039-D-RJ Document 33 Filed 05/16/24 Page 1 of 2
MCDONALD WORLEY, PC


BY:   /s/ Kevin M. Cox
      Kevin M. Cox, Esq.
      MCDONALD WORLEY, PC
      1770 St. James Place, Suite #100
      Houston, Texas 77056
      Email: kevin@mcdonaldworley.com
              Attorneys for Plaintiff




       Case 2:22-cv-00039-D-RJ Document 33 Filed 05/16/24 Page 2 of 2
